      Case: 1:19-cv-02869 Document #: 1 Filed: 04/29/19 Page 1 of 4 PageID #:1



                  IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

IN RE: Darlene Morman                           )      Case No.
                                                )
                                                )
      Plaintiff                                 )      COMPLAINT
                                                )
                                                )
v.                                              )      July Demand Requested
                                                )
      Medicredit                                )
      One Park Plaza                            )
      Nashville, TN 37203                       )
                                                )
      Defendant                                 )
______________________________________________________________________
   Now comes Plaintiff, by and through his attorneys, and, for his Complaint alleges as
                                        follows:

                                       INTRODUCTION

             1. Plaintiff, Darlene Morman, brings this action to secure redress from
                unlawful collection practices engaged in by Defendant, Medicredit, Inc..
                Plaintiff allege violation of the Fair Debt Collection Practices Act, 15
                U.S.C. Section 1692 et seq. (“FDCPA”).
             2. The FDCPA makes clear that within five days of any initial
                communication, a debt collector clearly state who the current creditor
                of the Debtor is. 15 U.S.C. Section 1692g
             3. The FDCPA also makes it illegal under 15 U.S.C. Section 1692e to
                mislead a consumer about the actual name of the creditor to whom the
                debt is owed.
                                  APPLICABLE CASE LAW
             4. In Janetos vs. Fulton Friedman & Gullace, LLP (No. 15-01859), (7th
                Cir., 2016), the Seventh Circuit Court of Appeals stated if a dunning
                letter fails to disclose the required language in 15 U.S.C. Section
                1692g(a), it violates the FDCPA.
             5. Said case stated “[T]o satisfy Section 1692g(a), the debt collector’s
Case: 1:19-cv-02869 Document #: 1 Filed: 04/29/19 Page 2 of 4 PageID #:2



          notice must state the required information ‘clearly enough that the
          receipient is likely to understand it.’” Id.
       6. If an initial dunning letter fails to disclose the required information
          clearly, it violates the FDCPA, without further proof of confusion. Id.

                      JURISDICTION AND VENUE
       7. This court has jurisdiction pursuant to 28 U.S.C. Section 1331, 1337,
          1367; and 15 U.S.C. section 1692(d).
       8. Venue is proper because a substantial part of the events giving rise to
          this claim occurred in this District.
                              PARTIES
       9. Plaintiff, Darlene Morman (hereinafter “Plaintiff”) incurred an obligation
          to pay money, the primary purpose of which was for personal, family,
          or household uses (the “Debt”).
       10. Plaintiff is a resident of the State of Illinois
       11. Defendant, Medicredit, Inc. (“Defendant”), is a Tennessee business
          entity with an address of One Park Plaza, Nashville, TN 37203
          operating as a collection agency, and is a “debt collector” as the term
          is defined by 15 U.S.C. Section 1692a(6).
       12. Unless otherwise stated herein, the term “Defendant” shall refer to
          Medicredit, Incorporated..
       13. At some point, the original creditor, transferred this debt to Defendant
          for debt collection.
                                      ALLEGATIONS
       14. The Plaintiff allegedly incurred a financial obligation in the approximate
          amount of $200(the “Debt”) to an original creditor (the “Creditor”)
       15. The Debt was purchased, assigned or transferred to Defendant for
          collection, or Defendant was employed by the Creditor to collect to
          Debt.
       16. The Defendant attempted to collect the Debt and, as such, engaged in
          “communications” as defined in 15 U.S.C. Section 1692a(2).
Case: 1:19-cv-02869 Document #: 1 Filed: 04/29/19 Page 3 of 4 PageID #:3



       17. On December 20, 2018, Defendant sent an initial communication to
          Plaintiff. See Exhibit A.
       18. The letter states in the opening “[T]his is to inform you that Northwest
          Community 2Nds has placed your account with this agency with the full
          intention of collection this account. Please give this past due account
          the attention it deserves.” See Exhibit A.
       19. Plaintiff is unaware of who Northwest Community 2Nds is.
       20. In fact, Plaintiff is confused as to what organization she actually owes
          the debt to.
       21. In the state of Illinois, there are approximately thirty-eight (38)
          businesses in the healthcare industry that have the name “Northwest
          Community” in their name. See Exhibit B.
       22. However, there are absolutely no businesses that go by “Northwest
          Community 2Nds.” See Exhibit B
       23. There is a Northwest Community Hospital, a Northwest Community
          Credit Union, a Northwest Community Music Academy, a Northwest
          Community Pharmacy and many many more with “Northwest
          Community” in the title. See Exhibit B
       24. It is not clear in the least bit to the Plaintiff who Defendant claims she
          owes money to.
                             STANDING AND INJURY

       25. Plaintiff has suffered an injury in fact that is traceable to Defendant's
          conduct and that is likely to be redressed by a favorable decision in
          this matter.
       26. Specifically, Plaintiff suffered a concrete informational injury as a result
          of Defendant's failure to provide truthful information in connection with
          its attempt to collect an alleged debt from Plaintiff.
       27. The rights and obligations established by section 1692g were
          considered by the Senate at the time of passage to be a “significant
          feature” of the Act. “This provision [section 1692g] will eliminate the
Case: 1:19-cv-02869 Document #: 1 Filed: 04/29/19 Page 4 of 4 PageID #:4



          recurring problem of collectors dunning the wrong person or attempting
          to collect debts which the consumer has already paid.” S. Rep. No. 382,
          95th Cong., 1st Sess. 4, at 4, reprinted in 1977 U.S.C.C.A.N. 1695, 1696,
       28. The Plaintiff has suffered and continues to suffer actual damages as a
          result of the Defendant’s unlawful conduct.
       29. As a direct consequence of the Defendant’s acts, practices and
          conduct, the Plaintiff suffered and continues to suffer from humiliation,
          anger, anxiety, and frustration.
VIOLATIONS OF THE FDCPA-15 U.S.C. SECTION 1692, et seq.
       30. The Plaintiff incorporates by reference all of the above paragraphs of
          this Complaint as though fully stated herein.
       31. The Defendant’s conduct violated 15 U.S.C. Section 1692g(a) by not
          stating clearly who the creditor was on this matter.
       32. The Defendant’s conduct violated 15 U.S.C. Section 1692e by
          misleading Plaintiff as to whom the debt was owed to.
                                    JURY DEMAND
       33. Plaintiff demands a trial by jury.
                                    PRAYER FOR RELIEF
       34. Plaintiff demands the following relief:
       WHEREFORE, the Court should enter Judgment in favor of Plaintiff and
       against Defendant for:
                    (1) Statutory damages;

                     (2) Attorney fees, litigation expenses and costs of suit; and

                     (3) Such other and further relief as the Court deems proper.

                                                     Respectfully submitted,

                                                /s/ John Carlin__________________
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